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                                                     EXHIBIT 17
SAR with
Missing
Support File       FirstBates
            1   ALPINE00074985
            2   ALPINE00074120
            3   ALPINE00074534
            4   ALPINE00074242
            5   ALPINE00075675
            6   ALPINE00074386
            7   ALPINE00074421
            8   ALPINE00074948
            9   ALPINE00072444
           10   ALPINE00068187
           11   ALPINE00073791
           12   ALPINE00069803
           13   ALPINE00071315
           14   ALPINE00066145
           15   ALPINE00088717
           16   ALPINE00088715
           17   ALPINE00088713
           18   ALPINE00095610
           19   ALPINE00095074
           20   ALPINE00100040
           21   ALPINE00093831
           22   ALPINE00099334
           23   ALPINE00105686
           24   ALPINE00105508
           25   ALPINE00105469
           26   ALPINE00105612
           27   ALPINE00105688
           28   ALPINE00105581
           29   ALPINE00105404
           30   ALPINE00105708
           31   ALPINE00105452
           32   ALPINE00105684
           33   ALPINE00105574
           34   ALPINE00105712
           35   ALPINE00105498
           36   ALPINE00105373
           37   ALPINE00105769
           38   ALPINE00105447
           39   ALPINE00105669
           40   ALPINE00105470
           41   ALPINE00105381
           42   ALPINE00105624
           43   ALPINE00105709
           44   ALPINE00105744
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SAR with
Missing
Support File       FirstBates
           45   ALPINE00105742
           46   ALPINE00105592
           47   ALPINE00105363
           48   ALPINE00105350
           49   ALPINE00105374
           50   ALPINE00105595
           51   ALPINE00105349
           52   ALPINE00105642
           53   ALPINE00105771
           54   ALPINE00105551
           55   ALPINE00105377
           56   ALPINE00105387
           57   ALPINE00105743
           58   ALPINE00105645
           59   ALPINE00105451
           60   ALPINE00105753
           61   ALPINE00105683
           62   ALPINE00105485
           63   ALPINE00105436
           64   ALPINE00105535
           65   ALPINE00105445
           66   ALPINE00105493
           67   ALPINE00105505
           68   ALPINE00105788
           69   ALPINE00105440
           70   ALPINE00105658
           71   ALPINE00105733
           72   ALPINE00105430
           73   ALPINE00105646
           74   ALPINE00105408
           75   ALPINE00105487
           76   ALPINE00105382
           77   ALPINE00093070
           78   ALPINE00093053
           79   ALPINE00093096
           80   ALPINE00093078
           81   ALPINE00093093
           82   ALPINE00093080
           83   ALPINE00093047
           84   ALPINE00093085
           85   ALPINE00093066
           86   ALPINE00093045
           87   ALPINE00093083
           88   ALPINE00093057
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SAR with
Missing
Support File       FirstBates
           89   ALPINE00093082
           90   ALPINE00093088
           91   ALPINE00093049
           92   ALPINE00093061
           93   ALPINE00093087
           94   ALPINE00093071
           95   ALPINE00093058
           96   ALPINE00093102
           97   ALPINE00093098
           98   ALPINE00093073
           99   ALPINE00093059
          100   ALPINE00093084
          101   ALPINE00093091
          102   ALPINE00093079
          103   ALPINE00093064
          104   ALPINE00093100
          105   ALPINE00093103
          106   ALPINE00093074
          107   ALPINE00093072
          108   ALPINE00093067
          109   ALPINE00093095
          110   ALPINE00093092
          111   ALPINE00093104
          112   ALPINE00093101
          113   ALPINE00093062
          114   ALPINE00093075
          115   ALPINE00093077
          116   ALPINE00093055
          117   ALPINE00093086
          118   ALPINE00093048
          119   ALPINE00093105
          120   ALPINE00093046
          121   ALPINE00093094
          122   ALPINE00093060
          123   ALPINE00093063
          124   ALPINE00093081
          125   ALPINE00093076
          126   ALPINE00093099
          127   ALPINE00093097
          128   ALPINE00093065
          129   ALPINE00093069
          130   ALPINE00093050
          131   ALPINE00093090
          132   ALPINE00093056
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SAR with
Missing
Support File       FirstBates
          133   ALPINE00093054
          134   ALPINE00093089
          135   ALPINE00093051
          136   ALPINE00093328
          137   ALPINE00093296
          138   ALPINE00093252
          139   ALPINE00093229
          140   ALPINE00093743
          141   ALPINE00093133
          142   ALPINE00093107
          143   ALPINE00093183
          144   ALPINE00093615
          145   ALPINE00093111
          146   ALPINE00093547
          147   ALPINE00093347
          148   ALPINE00093661
          149   ALPINE00093440
          150   ALPINE00093468
          151   ALPINE00093220
          152   ALPINE00093663
          153   ALPINE00093585
          154   ALPINE00093135
          155   ALPINE00093686
          156   ALPINE00093430
          157   ALPINE00093397
          158   ALPINE00093222
          159   ALPINE00093215
          160   ALPINE00093315
          161   ALPINE00093301
          162   ALPINE00093552
          163   ALPINE00093579
          164   ALPINE00093700
          165   ALPINE00093334
          166   ALPINE00093518
          167   ALPINE00093395
          168   ALPINE00093623
          169   ALPINE00093130
          170   ALPINE00093383
          171   ALPINE00093746
          172   ALPINE00093142
          173   ALPINE00093297
          174   ALPINE00093379
          175   ALPINE00093141
          176   ALPINE00093466
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SAR with
Missing
Support File       FirstBates
          177   ALPINE00093606
          178   ALPINE00093333
          179   ALPINE00093563
          180   ALPINE00093235
          181   ALPINE00093801
          182   ALPINE00129082
          183   ALPINE00127829
          184   ALPINE00124474
          185   ALPINE00124476
          186   ALPINE00124477
          187   ALPINE00127778
          188   ALPINE00127683
          189   ALPINE00127678
          190   ALPINE00090708
          191   ALPINE00090711
          192   ALPINE00090712
          193   ALPINE00090718
          194   ALPINE00124570
          195   ALPINE00124573
          196   ALPINE00124546
          197   ALPINE00124539
          198   ALPINE00124550
          199   ALPINE00088719
          200   ALPINE00124508
          201   ALPINE00129849
          202   ALPINE00129855
          203   ALPINE00127589
          204   ALPINE00127580
          205   ALPINE00127568
          206   ALPINE00127574
          207   ALPINE00127560
          208   ALPINE00127581
          209   ALPINE00127570
          210   ALPINE00127600
          211   ALPINE00127588
          212   ALPINE00124594
          213   ALPINE00124648
          214   ALPINE00124634
          215   ALPINE00124610
          216   ALPINE00124616
          217   ALPINE00124625
          218   ALPINE00124608
          219   ALPINE00124633
          220   ALPINE00124588
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SAR with
Missing
Support File       FirstBates
          221   ALPINE00124651
          222   ALPINE00124598
          223   ALPINE00124630
          224   ALPINE00124606
          225   ALPINE00124642
          226   ALPINE00124638
          227   ALPINE00124618
          228   ALPINE00090729
          229   ALPINE00090731
          230   ALPINE00124503
          231   ALPINE00124499
          232   ALPINE00087315
          233   ALPINE00087332
          234   ALPINE00087281
          235   ALPINE00087310
          236   ALPINE00087304
          237   ALPINE00087263
          238   ALPINE00087301
          239   ALPINE00087293
          240   ALPINE00087265
          241   ALPINE00087290
          242   ALPINE00087273
          243   ALPINE00087307
          244   ALPINE00087314
          245   ALPINE00087311
          246   ALPINE00087287
          247   ALPINE00087256
          248   ALPINE00087300
          249   ALPINE00087255
          250   ALPINE00087309
          251   ALPINE00087330
          252   ALPINE00087312
          253   ALPINE00087320
          254   ALPINE00087294
          255   ALPINE00087338
          256   ALPINE00087258
          257   ALPINE00126126
          258   ALPINE00114520
          259   ALPINE00114519
          260   ALPINE00115041
          261   ALPINE00115212
          262   ALPINE00114955
          263   ALPINE00114645
          264   ALPINE00114584
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SAR with
Missing
Support File       FirstBates
          265   ALPINE00123700
          266   ALPINE00123761
          267   ALPINE00123762
          268   ALPINE00123840
          269   ALPINE00123922
          270   ALPINE00114511
          271   ALPINE00114509
          272   ALPINE00114516
          273   ALPINE00114514
          274   ALPINE00114517
          275   ALPINE00127699
          276   ALPINE00124051
          277   ALPINE00124049
          278   ALPINE00083241
          279   ALPINE00091673
          280   ALPINE00091670
          281   ALPINE00091686
          282   ALPINE00127685
          283   ALPINE00124410
          284   ALPINE00124520
          285   ALPINE00124521
          286   ALPINE00124526
          287   ALPINE00124528
          288   ALPINE00124527
          289   ALPINE00124525
          290   ALPINE00124524
          291   ALPINE00124516
          292   ALPINE00124513
          293   ALPINE00124515
          294   ALPINE00124534
          295   ALPINE00124533
          296   ALPINE00124532
          297   ALPINE00114162
          298   ALPINE00114231
          299   ALPINE00114176
          300   ALPINE00114242
          301   ALPINE00114129
          302   ALPINE00114109
          303   ALPINE00114140
          304   ALPINE00114212
          305   ALPINE00114119
          306   ALPINE00114243
          307   ALPINE00114100
          308   ALPINE00114239
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SAR with
Missing
Support File       FirstBates
          309   ALPINE00114152
          310   ALPINE00114173
          311   ALPINE00114112
          312   ALPINE00114071
          313   ALPINE00114149
          314   ALPINE00114085
          315   ALPINE00114128
          316   ALPINE00114157
          317   ALPINE00114138
          318   ALPINE00114222
          319   ALPINE00114158
          320   ALPINE00114110
          321   ALPINE00114246
          322   ALPINE00114142
          323   ALPINE00087179
          324   ALPINE00129889
          325   ALPINE00129894
          326   ALPINE00114493
          327   ALPINE00088720
          328   ALPINE00087419
          329   ALPINE00087467
          330   ALPINE00087456
          331   ALPINE00132294
          332   ALPINE00127365
          333   ALPINE00124168
          334   ALPINE00124182
          335   ALPINE00124202
          336   ALPINE00083243
          337   ALPINE00083242
          338   ALPINE00090625
          339   ALPINE00087402
          340   ALPINE00087400
          341   ALPINE00083265
          342   ALPINE00083269
          343   ALPINE00083274
          344   ALPINE00083267
          345   ALPINE00083273
          346   ALPINE00083271
          347   ALPINE00083266
          348   ALPINE00087754
          349   ALPINE00087755
          350   ALPINE00127740
          351   ALPINE00127738
          352   ALPINE00127736
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SAR with
Missing
Support File       FirstBates
          353   ALPINE00127806
          354   ALPINE00087774
          355   ALPINE00087819
          356   ALPINE00087769
          357   ALPINE00087797
          358   ALPINE00087820
          359   ALPINE00087800
          360   ALPINE00087802
          361   ALPINE00087817
          362   ALPINE00087773
          363   ALPINE00087809
          364   ALPINE00087839
          365   ALPINE00087815
          366   ALPINE00087778
          367   ALPINE00087799
          368   ALPINE00114503
          369   ALPINE00114502
          370   ALPINE00114501
          371   ALPINE00091729
          372   ALPINE00091736
          373   ALPINE00091728
          374   ALPINE00091745
          375   ALPINE00091739
          376   ALPINE00091747
          377   ALPINE00091746
          378   ALPINE00091752
          379   ALPINE00091719
          380   ALPINE00091734
          381   ALPINE00091748
          382   ALPINE00091744
          383   ALPINE00126080
          384   ALPINE00126075
          385   ALPINE00126062
          386   ALPINE00126074
          387   ALPINE00126066
          388   ALPINE00126081
          389   ALPINE00126069
          390   ALPINE00126085
          391   ALPINE00083108
          392   ALPINE00083118
          393   ALPINE00083104
          394   ALPINE00083122
          395   ALPINE00083130
          396   ALPINE00083135
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SAR with
Missing
Support File       FirstBates
          397   ALPINE00083132
          398   ALPINE00083103
          399   ALPINE00083121
          400   ALPINE00083114
          401   ALPINE00087250
          402   ALPINE00087253
          403   ALPINE00083329
          404   ALPINE00083330
          405   ALPINE00090743
          406   ALPINE00090757
          407   ALPINE00090740
          408   ALPINE00090737
          409   ALPINE00090755
          410   ALPINE00090735
          411   ALPINE00090760
          412   ALPINE00090762
          413   ALPINE00090736
          414   ALPINE00090745
          415   ALPINE00090750
          416   ALPINE00090739
          417   ALPINE00124705
          418   ALPINE00124685
          419   ALPINE00124704
          420   ALPINE00124711
          421   ALPINE00127348
          422   ALPINE00090722
          423   ALPINE00090724
          424   ALPINE00090728
          425   ALPINE00124457
          426   ALPINE00124059
          427   ALPINE00124061
          428   ALPINE00124056
          429   ALPINE00092753
          430   ALPINE00092557
          431   ALPINE00092396
          432   ALPINE00092745
          433   ALPINE00092966
          434   ALPINE00092627
          435   ALPINE00092229
          436   ALPINE00092792
          437   ALPINE00092362
          438   ALPINE00092665
          439   ALPINE00127725
          440   ALPINE00127724
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SAR with
Missing
Support File       FirstBates
          441   ALPINE00084648
          442   ALPINE00083779
          443   ALPINE00086424
          444   ALPINE00083389
          445   ALPINE00084753
          446   ALPINE00088757
          447   ALPINE00088776
          448   ALPINE00088747
          449   ALPINE00088796
          450   ALPINE00088787
          451   ALPINE00088780
          452   ALPINE00127525
          453   ALPINE00124028
          454   ALPINE00124030
          455   ALPINE00124029
          456   ALPINE00090830
          457   ALPINE00114396
          458   ALPINE00087345
          459   ALPINE00087379
          460   ALPINE00087364
          461   ALPINE00087387
          462   ALPINE00132173
          463   ALPINE00132174
          464   ALPINE00131254
          465   ALPINE00130554
          466   ALPINE00131498
          467   ALPINE00131461
          468   ALPINE00130636
          469   ALPINE00131607
          470   ALPINE00131633
          471   ALPINE00131899
          472   ALPINE00130533
          473   ALPINE00130490
          474   ALPINE00130014
          475   ALPINE00130637
          476   ALPINE00130400
          477   ALPINE00131092
          478   ALPINE00130516
          479   ALPINE00131286
          480   ALPINE00130068
          481   ALPINE00131900
          482   ALPINE00131562
          483   ALPINE00130603
          484   ALPINE00131634
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SAR with
Missing
Support File       FirstBates
          485   ALPINE00129942
          486   ALPINE00131656
          487   ALPINE00131499
          488   ALPINE00131561
          489   ALPINE00130466
          490   ALPINE00131250
          491   ALPINE00131308
          492   ALPINE00130657
          493   ALPINE00091133
          494   ALPINE00124398
          495   ALPINE00124395
          496   ALPINE00129772
